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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1. NICOLE STONE, an individual,                )
                                                 )
                            Plaintiff,           )
  vs.                                            )       Case No. 17-CV-540-CVE-FHM
                                                 )
  1. GLOVER NISSAN, LLC,                         )
  d/b/a JIM GLOVER NISSAN,                       )
  a domestic limited liability company,          )       JURY TRIAL DEMANDED
                                                 )       ATTORNEY LIEN CLAIMED FOR
                            Defendant.           )       THE FIRM



                                             COMPLAINT

           COMES NOW, the Plaintiff, Nicole Stone ("Plaintiff'), through her attorney of record,

  Charles C. Vaught of Armstrong & Vaught, P.L.C. and brings this action pursuant to Title VII of

  the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq. for pregnancy discrimination

  committed by Defendant.


                                     JURISDICTION AND VENUE
  1. Jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331 and 1367(a). In particular, jurisdiction

        is premised on a violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

        §§ 2000e, et seq.

  2. Declaratory and equitable relief are sought pursuant to 28 U.S.C. § 2201 and 28 U.S.C. § 2202,

        and compensatory and punitive damages are sought pursuant to 42 U.S.C. § 2000e, et seq.

  3. Costs and attorneys' fees may be awarded pursuant to Rule 54 of the Federal Rules of Civil

  .     Proceoureaiidtheaoove.statutes.

  4. This Court has jurisdiction over the parties and the subject matter of this action, and this action

        properly lies in the Northern District of Oklahoma, pursuant to 28 U.S.C. § 1331 and 28 U.S.C.




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     § 1391(b), because the unlawful employment practices alleged herein arose in this judicial

     district.

  5. Plaintiff is, and was at all times relevant hereto, a resident of the State of Oklahoma, residing

     in Tulsa, Oklahoma.

  6. The acts and/or omissions giving rise to this lawsuit occurred in Tulsa, Tulsa County, State of

     Oklahoma.

  7. In conformance with Title VII statutory prerequisites, Plaintiff submitted pre-charge

     information to the United States Equal Employment Opportunity Commission ("EEOC").

     Subsequently, Plaintiff submitted a Charge of Discrimination to the EEOC. The EEOC

     completed its investigation and issued a Notice of Right to Sue on July 13, 2017 (attached as

     Exhibit A hereto and hereby incorporated by reference as though fully set forth herein).

  8. Defendant is an employer as defined by 42 U.S.C. § 2000e(b), in that it was a private employer

     engaged in an industry affecting commerce who has fifteen or more employees for each

     working day in each of twenty or more calendar weeks in the current or preceding calendar

     year

  9. Plaintiff was at all times relevant hereto an employee as defined by 42 U.S.C. § 2000e (f), in

      that she was employed by an employer.


                                        OPERATIVE FACTS

  10. Plaintiff is a member of a protected class, to wit: a pregnant female.

  lLPiaintiffwa&hired_bylimGlover Nissan, formerly Bob Moore Nissan, as a Parts Delivery

      Driver in October of 2015.

  12. On December 21, 2015, Plaintiff found out she was six weeks pregnant.




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  13. On December 22, 2015, Plaintiff informed John Dance, Parts Manager, that she was pregnant.

     Mr. Dance responded by instructing Plaintiff that when she is delivering parts, she can go to

     her doctor's appointment and then finish delivering parts.

  14. During her 6th or 7th month of pregnancy, Plaintiff informed Mr. Dance that she expected to

     be able to work until her due date or when her doctor took her off work. She also informed Mr.

     Dance that during an earlier pregnancies, she got "extremely big" and therefore was unable to

     drive, but went on to assure Mr. Dance that this pregnancy may be different.

  15. On February 8, 2016, an employee named Taylor Moon was fired by Chuck Zacharies, Cashier

     and Lube Tech Manager, from her cashier position at Jim Glover Nissan due to her always

     being on her phone and calling into work.

  16. On February 10, 2016, Plaintiff arrived at work and was immediately greeted by Mr. Dance.

     Mr. Dance informed Plaintiff that she was being terminated, but that she would spend her last

     week training her replacement. Plaintiff inquired as to whom her replacement was, to which

     Mr. Dance introduced Ms. Moon as her replacement.

  17. Plaintiff believes that she was discriminated against on the basis of her gender, to wit, a

     pregnant female, in violation of Title VII of the Civil Rights Act of 1964.

                                            FIRST CLAIM
                          (Pregnancy Discrimination in Violation of Title VII)

  18. Plaintiff incorporates and re-alleges the foregoing paragraphs as though fully set forth herein and

      would further state as follows:

  19 Thisclaimismadeagainst Defendant, Jitn Glover Nissan.

  20. That, as a member of a protected class, to wit: a pregnant female, Plaintiff is protected by the

      provisions of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.;




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  21. That the disparate treatment of Plaintiff by Defendant and its employees and/or agents was a

       direct result of discrimination on the basis of her protected status, to wit: a pregnant female,

       as prohibited by Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.;

  22. That Plaintiff was unfairly treated and that the motivating reason for this treatment is based on

      her protected status, to wit: a pregnant female, as prohibited by Title VII of the Civil Rights Act

      of 1964, 42 U.S.C. § 2000e et seq.;

  23. That Defendant ratified the acts of its agents and employees by failing to take remedial action

      upon notice by Plaintiff of the circumstances or by allowing the acts to occur after receiving

      actual or constructive notice of those acts;

  24. That the conduct complained of constitutes illegal gender discrimination in violation of Title

      VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

         WHEREFORE, Plaintiff prays that the Defendant appear and answer this Complaint, and

  that this Court: (1) declare the conduct engaged in by the Defendant to be in violation of Plaintiff's

  rights; (2) enjoin the Defendant from engaging in such conduct; (3) enter a judgment for Plaintiff

  in an amount in excess of $100,000.00 plus interest, costs, attorney fees, and compensatory and

  punitive damages as provided for by applicable law; (4) order Plaintiffs be reinstated to his former

  position, or receive front pay in lieu thereof; and (5) grant Plaintiff such other and further relief as

  this Court may deem just, proper and equitable.




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'   ;   .

                                                        Respectfully submitted,

                                                        ARMSTRONG & VAUGHT, P.L.C.

                                                        By:    s/ Charles C. Vaught
                                                        Charles C. Vaught, OBA #19962
                                                        2727 East 21st Street, Suite 505
                                                        Tulsa, OK 74114
                                                        (918) 582-2500 - telephone
                                                        (918) 583-1755 -facsimile
                                                        cvaught@a-vlaw.com
                                                        Attorney for Plaintiff




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          EEOC Form 161 (11/16)                              U.S. ,._QUAL EMPLOYMENT OPPORTUNITY COM1,.,Js10N

                                                                       DISMISSAL AND NOTICE OF RIGHTS
         To:     Nicole Renee Stone                                                                                  From: Oklahoma City Area Office
                 1220 W. Jackson St.                                                                                             215 Dean A. McGee Avenue
                 Broken Arrow, OK 74012                                                                                          Suite 524
                                                                                                                                 Oklahoma City, OK 73102



               D                            On behalf of person(s) aggrieved whose identity is
                                            CONFIDENTIAL (29 CFR §1601.7/a))
          EEOC Charge No.                                            EEOC Representative                                                                             Telephone No.

                                                                     Tandi J. Dillard,
          564-2016-01386                                             Investigator                                                                                    (405) 231-4317
          THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
               D             The facts alleged in the charge fail to state a claim under any of the statules enforced by the EEOC.

               D             Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

               D             The Respondent employs less than the required number of employees or is not other,vise covered by the statutes.


               D             Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                             discrimination to file your charge
               [RJ        The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                           information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                           the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

               D             The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

               D             Other (briefly state)



                                                                                  - NOTICE OF SUIT RIGHTS -
                                                                        (See the additional information attached to this form.)

        Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
        Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
        You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
        lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
        lost. (The time limit for filing suit based on a claim under state law may be different.)

        Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
        alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
        before you file suit may not be collectible.

                                                                              j             _   On behal\_f the Commission

                                                                                         0Jl!d· '----LJ}                          {                                July 13, 2017
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                                                                                           Area Office Director
         cc:
                      Mr. Phil Frazier                                                                              Mr. David Blades
                      Frazier & Phillips                                                                            ARMSTRONG & VAUGHT PC
                      Attorneys at Law                                                                              2727 E. 21st Street, Suite 505
                      1424 Terrace Drive                                                                            Tulsa, OK 74114
                      Tulsa, OK 74104-4626
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Enclosure with EEOC
Form 161 (11/16)

                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                              (This infonnation relates to filing suit in Federal or State cowl under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


PRIVATE SUIT RIGHTS                    Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to deci de
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years {3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION ••                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

A.1roRNEYREFERRALANDEEOCAss1sT11.Nc1:                             •.. All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
